Case 2:20-cv-07467-ODW-AFM Document 70-2 Filed 10/28/21 Pagelof2 Page ID#:414

COMMERCIAL IMVOICERS WA

SHANGHAI XUANNI TECHNOLOGY CO., LTD
NO94 1296LANE JINGAO ROAD PUDONG NEW DISTRICT SHANGHAI

TO: B&F FEDELINI INC Date HA 20190730
1301 S MAIN ST SUITE NO.224 Invoice Nu. & RFS PXN20190708
LOS ANGELES CA ZIP 90015 Contract No.4 fai=
1-424-2831756 Total Pages R & 1
Unit price
Item
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7 FOB Shanghai China(USD)
1 Sti 326 th 19481.7| kg | 5.9000 114942.03
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COMMERCIAL IMVOICERWLAR

SHANGHAI XUANNI TECHNOLOGY CO., LTD
NO94 1296LANE JINGAO ROAD PUDONG NEW DISTRICT SHANGHAI

TO: B&F FEDELINI INC Date AHA 20190821
1301 S MAIN ST SUITE NO.224 Invoice No. RRS PXN20190708
LOS ANGELES CA ZIP 90015 Contract No.4 fal S
1-424-2831756 Total Pages 1
Unit price
Item
No. Description of goods Wi | Quantity | Unit#| # 4p ATOR
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7 FOB Shanghai China(USD)
1 Steet 19491.6| kg | 5.9000 115000.44
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